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 4
 5                      UNITED STATES DISTRICT COURT
 6                            DISTRICT OF ARIZONA
 7
                                        )
 8   Sheryl A. Quenzer,                 )       No. CV 08-1448-PHX-MHB
                                        )
 9                                      )
                                        )
10        Plaintiff,                    )
                                        )
11   v.                                 )                 ORDER
                                        )
12   Premium Asset Recovery             )
     Corporation;                       )
13                                      )
                                        )
14        Defendant.                    )
                                        )
15                                      )
16        Plaintiff having filed a notice of the dismissal of this
17   case with prejudice, and good cause appearing,
18        IT   IS   HEREBY    ORDERED       dismissing   this   action   with
19   prejudice, each party to bear its own fees and costs.
20        DATED this 23rd day of September, 2008.
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